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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER FORMALDEHYDE MDL NO. 1873
PRODUCTS LIABILITY LITIGATION

SECTION N(5)

JUDGE ENGELHARDT
THIS DOCUMENT IS RELATED TO: MAGISTRATE CHASEZ

DeCarlo McGuire, et al v. Gulf Stream Coach, Inc., et al
No. 06-3639, Section B, Mag. 4

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PLAINTIFFS’ SECOND SUPPLEMENTAL AND AMENDING
COMPLAINT FOR DAMAGES

The plaintiffs, DeCarlo McGuire, Dr. Marshall Stevenson, and Lynda Ward-Stevenson,
individually and on behalf of their children, Marshall F. Stevenson, II, and Lyndsay Stevenson,
and pursuant to the provisions Rule 15 of the Federal Rules of Civil Procedure, respectfully

supplements and amends the Original Complaint herein as follows:

Plaintiffs adopt, incorporate and restate all allegations, assertions of fact, causes of action,

claims and requests for relief raised and set forth in the Original and First Amended Complaints.
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2.

Each Named Plaintiff is, for purposes of 28 U.S.C. §1332, a citizen of a state

other than the state(s) in which Defendants are citizens.
3.

The allegations of the Original Complaint and First Amended Complaint with
respect to the identification of Parties, as well as the allegations of the Onginal Complaint
and First Amended Complaint with respect to Jurisdiction and Venue, respectfully are
reiterated and incorporated herein.

REQUEST FOR JURY

Plaintiffs specifically reiterate their request for trial by jury of all claims herein, to
the extent permitted by law.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that Defendants Gulf Stream, Shaw and the
United States of America through FEMA be served with a copy of this Second
Supplemental and Amending Complaint for Damages, and that, after due proceedings:

1. there be a judgment herein in favor of Plaintiffs and against Defendants
for all compensatory damages together with legal interest thereon from the
date of judicial demand until paid, all costs and expenses of these
proceedings, and attorneys’ fees, declaring that the defendants are liable

for all applicable damages and thereafter:
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there be specifically included in the judgment in Plaintiffs’ favor.

provisions for the following damages and relief as found applicable and

supported by the evidence:

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past and future physical injuries;

past and future mental and physical pain and suffering;
past and future physical impairments and disability;

past and future reasonable and necessary medical expenses:
past and future loss of earning capacity;

past and future loss of enjoyment of and quality of life;

loss of consortium and/or society;

compensable out-of-pocket expenses related to defendants’
wrongdoing;

costs of court: and

all other general, equitable and further relief, as the Court may

deem just and proper.

Respectfully submitted,

/s/ John K. Etter UK: Z

JOHN K. ETTEBS(Bar No. 042)
RODNEY & ETTER, LLC

620 North Carrollton Avenue
New Orleans, LA 70119

Phone: (504) 483-3224
Facsimile: (504) 483-2259

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PLEASE SERVE:

1.

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GULF STREAM COACH, INC.
Through its Counsel of Record
Timothy D. Scandurro, Esq.
Scandurro & Layrisson

607 St. Charlies Avenue, Suite 100
New Orleans, LA 70130

SHAW ENVIRONMENTAL, INC.

Through its Counsel of Record

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FLUOR ENTERPRISES, INC.

Through its Counsel of Record

Leon Gary, Jr., Esq.

Jones, Walker,, Waechter, Poitevant, Carrere & Denegre
Four United Plaza

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Baton Rouge, LA 70809

BECHTEL CORPORATION

Through its registered agent for service:
C T Corporation

5615 Corporate Blvd., Ste. 400B

Baton Rouge, Louisiana 70808

CH2M Hill, Inc.

Through its Counsel of Record

William H. Howard, IT, Esq.

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FLEETWOOD ENTERPRISES, INC,
Through its Counsel of Record
Jerry L. Saponto, Esq.

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639 Loyola Avenue, Suite 2100

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New Orleans, LA 70113

6. The United States of America
through
U.S. Attorney’s Office, Eastern District of Louisiana
500 Poydras Street
Room B210
New Orleans, Louisiana 70130
and through
Attomey Generai of the United States
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001
and through
Federal Emergency Management Agency
Office of the Director, Office of the General Counsel
500 C Street, SW
Washington, DC 20472

CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that on this 1‘ day of August, 2009, I electronically filed the
foregoing with the Clerk of Court by using the CM/ECF system which will send a notice of
electronic filing to all counsel of record who are CM/ECF participants. I further certify that I
mailed the foregomg document and the notice of electronic filing by first-class mail to all

counsel of record who are non-CM/ECF participants.

/s! John K. Etter VWUIGE

JOHN K. ETTER

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